     Case 5:18-cv-01081-FMO-SK Document 17 Filed 10/24/18 Page 1 of 2 Page ID #:61




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11
12                             UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                    EASTERN DIVISION
15
16   Michael J. Pravetz,                          No. 5:18-cv-01081-FMO-SK
17               Plaintiff,                       STIPULATION TO CONTINUE THE
                                                  SCHEDULING CONFERENCE
18                        v.
                                                  Honorable Fernando M. Olguin
19   Federal Retirement Thrift Investment         United Stated District Judge
     Board,
20
                 Defendant.
21
22         IT IS HEREBY STIPULATED by and between the parties, subject to Court
23   approval, to continue the scheduling conference to December 6, 2018, or alternatively, to
24   stay the conference until after the Court has had an opportunity to rule on the pending
25   motion to dismiss.
26         On October 10, 2018, Defendant filed a Motion to Dismiss for improper venue
27   and noticed the hearing for November 8, 2018. (ECF 14.) On October 11, 2018, the
28   Court issued an Order setting a scheduling conference for November 15, 2018, at
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     Case 5:18-cv-01081-FMO-SK Document 17 Filed 10/24/18 Page 2 of 2 Page ID #:62




 1   10:00 a.m. (ECF 15.) The Order requires counsel for the parties to meet in person to
 2   discuss the Rule 26(f) matters by October 25, 2018. (ECF 15.)
 3         A continuance of the scheduling conference will conserve the resources of the
 4   Court and parties. The outcome of the motion may obviate the need for the conference.
 5         This is the first request to continue the scheduling conference.
 6         A proposed order is being lodged herewith.
 7
 8    Dated: October 24, 2018               LAW OFFICE OF ROBERT F. KEEHN
 9                                          /s/
                                            Robert F. Keehn, Esq.
10
                                            Attorney for Plaintiff
11                                          MICHAEL J. PRAVETZ
12
13    Dated: October 24, 2018               NICOLA T. HANNA
                                            United States Attorney
14                                          DAVID M. HARRIS
                                            Assistant United States Attorney
15                                          Chief, Civil Division
                                            JOANNE S. OSINOFF
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                                            /s/ Sarah Quist
18                                          SARAH QUIST
19                                          Assistant United States Attorney

20                                          Attorneys for Defendant
                                            FEDERAL RETIREMENT THRIFT
21                                          INVESTMENT BOARD

22
23   Attestation of Filer: I attest that the other signatory listed, and on whose behalf this
     filing is submitted, concurs in the filing’s content and has authorized the filing.
24   Dated: October 24, 2018                   /s/ Sarah Quist
                                              SARAH QUIST
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